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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND

Chambers of                                                     U.S. Courthouse Chambers 5D
Richard D. Bennett                                                      101 W. Lombard Street
United States District Judge                                              Baltimore, MD 21201
Northern Division                                                             Tel: 410-962-3190
                                                                             Fax: 410-962-3177
                                           April 11, 2024

TO COUNSEL OF RECORD

RE: Students for Fair Admissions v. The United States Naval Academy, et al.
    Civil No. RDB-23-2699

Dear Counsel:

       This Letter Order will confirm the off the record telephone conference held today,
April 11, 2024, with respect to the above-captioned case. This telephone conference
addressed: (1) the parties’ discovery dispute, see Exhibits 1 and 2; and (2) the Plaintiff’s disputed
Motion to Amend the Schedule (ECF No. 68). The Court’s findings are memorialized below,
and any objection thereto by either side is preserved for appeal.

       I.       The Parties’ Discovery Dispute

        Students for Fair Admissions (“SFFA”) seeks this Court’s intervention concerning
(1) Defendants’ objection to producing individual-level performance data and (2) Defendants’
assertion of the deliberative process privilege (“DPP”) over nine documents. See Exhibits 1
and 2.

       A. Individual-Level Performance Data

        Plaintiff requests the production of individualized performance and matriculation data.
See Exhibit 1. Defendants have refused to produce this data, contending the data (1) is
irrelevant, (2) is cumulative of information Defendants have already produced, and (3) would
be extraordinarily burdensome to produce. See Exhibit 2. Pursuant to Rule 26(b)(1) of the
Federal Rules of Civil Procedure, a party may obtain discovery regarding any nonprivileged
matter that is relevant to that party’s claim or defense and is proportional to the needs of the
case. While Plaintiff insists that it must have individual data to determine whether Defendants
race-based admissions practices further USNA’s asserted compelling interests and contend
that the aggregate data provided by Defendants is “insufficient,” see Exhibit 1, SFFA has not
articulated why individual-level performance data is relevant or proportional to the needs of
this case. Accordingly, this Court will not require production of individual-level performance
data.

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       B. Deliberative Process Privilege

       Second, the parties dispute Defendants’ assertion of the deliberative process privilege
(“DPP”) over nine documents—six relating to Defendants’ analyses of the use of college
entrance exams (Log Numbers 2, 5, 7–10), and three containing draft correspondence (Log
Numbers 12, 16, 17).

         Deliberative process privilege is “a form of executive privilege.” U.S. Fish and Wildlife
Serv. v. Sierra Club, Inc., 141 S. Ct. 777, 785 (2021). DPP applies to “documents reflecting
advisory opinions, recommendations, and deliberations comprising part of a process by which
governmental decisions and policies are formulated.” Dep’t of Interior v. Klamath Water Users
Protective Ass’n, 532 U.S. 1, 8 (2001). Material only qualifies for the privilege if it is (1)
“predecisional”; and (2) “deliberative.” Sierra Club, 141 S. Ct. at 785–86. “Documents are
‘predecisional’ if they were generated before the agency’s final decision on the matter, and they
are ‘deliberative’ if they were prepared to help the agency formulate its position.” Id. at 786.
The privilege does not protect materials that “simply state or explain a decision the
government has already made or protect material that is purely factual, unless the material is
so inextricably intertwined with the deliberative sections of documents that its disclosure
would inevitably reveal the government’s deliberations.” In re Sealed Case, 121 F.3d 729, 737
(D.C. Cir. 1997). “The deliberative process privilege is a qualified privilege and can be
overcome by a sufficient showing of need.” Id. Courts evaluate need “flexibly on a
case-by-case, ad hoc basis.” Id. Courts consider factors such as relevance, “the availability of
other evidence, the seriousness of the litigation, the role of the government, and the possibility
of future timidity by government employees.” Id. at 737–38 (quotation marks omitted).

       With respect to the six documents pertaining to Defendants’ analyses of the college
entrance exams (Log Numbers 2, 5, 7–10), this Court finds that the documents are relevant
and do not fall within the ambit of the privilege. As such, this Court ORDERS the production
of such documents (Log Numbers 2, 5, 7–10).

        With respect to the three documents pertaining to Defendants’ draft correspondence
to the House Armed Services Committee (Log Numbers 12, 16) and a former member of
Congress (Log Number 17), this Court finds that these three documents (Log Numbers 12,
16, 17) are within the ambit of the privilege. As such, this Court will not require production.

       II.     The Parties’ Dispute Over Amending the Schedule

        Through its Motion to Amend the Schedule (ECF No. 68), SFFA seeks to modify the
pretrial and trial schedule such that the bench trial in this matter would occur in
November 2024. While Defendants do not oppose a reasonable enlargement of the deadlines
and certain other pretrial deadlines, they oppose moving the trial date beyond September 2024.
(ECF No. 69.) Having reviewed the parties submissions (ECF Nos. 68, 69, 70) and having
discussed the filings with the parties, it is hereby ORDERED that the following schedule
SHALL govern the case:


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                                Previous Schedule              Amended Schedule
                                (ECF No. 61)
 Opening expert report          May 10, 2024                   July 15, 2024
 Rebuttal expert reports        May 31, 2024                   July 31, 2024
 Close of discovery             July 12, 2024                  For fact discovery:
                                                               August 14, 2024

                                                               For expert depositions:
                                                               August 21, 2024
 Rule 26(a)(3) disclosures      July 19, 2024                  August 14, 2024
 Motions in limine, Rule        July 26, 2024                  August 21, 2024
 26(a)(3) objections,
 deposition
 counter-designations
 Opposition to motions in       August 5, 2024                 August 28, 2024
 limine
 Pretrial conference/motion     August 23, 2024                September 5, 2024 at
 in limine hearing                                             10:00 AM
 Bench trial                    September 9–20, 2024           September 16–27, 2024

As such, Plaintiff’s Motion to Amend the Schedule (ECF No. 68) is DENIED AS MOOT.

       Although informal in format, this letter nonetheless constitutes an Order of Court and
the Clerk is directed to docket it as such.

                                                         Sincerely,



                                                         Richard D. Bennett
                                                         United States District Judge
RDB




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